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                   UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF LOUISIANA


LASHAWN JONES, ET AL.                                       CIVIL ACTION NO. 12-859

                                                            SECTION I, DIVISION 1
VERSUS

MARLIN GUSMAN, ET AL.                                       JUDGE LANCE M. AFRICK
                                                            MAGISTRATE JUDGE NORTH


                                      STATUS REPORT

       The City of New Orleans (the “City) hereby submits a Status Report on the progress of the

Temporary Detention Center (“TDC”) renovation and Phase III facility, in response to the Court’s

Order of March 18, 2019 (R.Doc. 1227).

       Capital Projects is currently engaged in the design phase of TDC. Grace Hebert Architects

(“Hebert”) is scheduled to submit design documents (95%) no later than Monday, April 22, 2019.

Following review as may be appropriate, a bid package will be submitted to the City’s Purchasing

Department. The City’s goal is to post the project for advertisement by Friday, May 3, 2019. The

anticipated projected construction notice to proceed date (“NTP”) is Monday, July 8,

2019. Assuming no unexpected impediments, the current projected TDC construction completion

date is March 2020.

       The City additionally submits that meaningful progress is also being made on the Phase III

permanent facility project. Programming work is currently ongoing with the City and the Orleans

Parish Sheriff’s Office (“OPSO”), along with Hebert and Hill International (“Hill”). Square

footage reduction strategies are under review.   Following programming review and input by the

appropriate entities, the City is targeting completing the programming phase of the Phase III

project by June 1, 2019. The current projected finish date for the Phase III facility is June 2022.
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The City will update the Court and the parties of any changes to the projected dates submitted

herein.

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                                           Respectfully Submitted,

                                           /s/ Sunni J. LeBeouf _________________
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